         Case
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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,                         Case No. 10-cr-3256-LDG-VCF
                                                                      03
 5                 Plaintiff,                          PROPOSED ORDER TO
 6                                                     TERMINATE SUPERVISED
            v.
                                                       RELEASE
 7   JEANNIE SUTHERLAND,
 8                 Defendant.
 9
10          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that pursuant to Title 18
11   U.S.C. § 3583(e), Defendant Jeannie Sutherland’s term of supervised release is hereby
12   terminated.
13
14          DATED this _____ day of July, 2016.

15                                                RENE L. VALLADARES
                                                  Federal Public Defender
16
                                                    _______________________________
                                           By: /s/ Raquel Lazo
17
                                               RAQUEL LAZO    Lloyd D. George
18                                             Assistant Federal Public
                                                           Sr. U.S.     Defender
                                                                    District Judge
                                               Attorney for Jeannie Sutherland
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